


  PER CURIAM.
 

  We have for review
  
   Montero v. State,
  
  947 So.2d 634 (Fla. 4th DCA 2007), in which the Fourth District Court of Appeal relied upon its decision in
  
   Yisrael v. State,
  
  938 So.2d 546 (Fla. 4th DCA 2006) (en banc),
  
   disapproved in part,
  
  993 So.2d 952 (Fla.2008), and certified conflict with the First District Court of Appeal’s decision in
  
   Gray v. State,
  
  910 So.2d 867 (Fla. 1st DCA 2005). We have jurisdiction.
  
   See
  
  art. V, § 3(b)(4), Fla. Const.
 

  We stayed proceedings in this case pending our disposition of
  
   Yisrael,
  
  in which we: (1) approved the decision of the First District in
  
   Gray,
  
  and (2) disapproved the reasoning and rule of law articulated by the Fourth District in its underlying decision, but ultimately approved the result reached by that court
  
   on other grounds. See Yisrael v. State,
  
  993 So.2d 952, 960-61 (Fla.2008). We subsequently issued an order directing the State to show cause why we should not exercise jurisdiction, summarily quash the decision under review, and remand for reconsideration in light of our decision in
  
   Yisrael.
  
  The State has now supplied this Court with a Department of Corrections business-records certification contained within the appellate record, which was used during sentencing to authenticate an attached “Crime and Time Report.”
  
   See Yisrael,
  
  993 So.2d at 960-61 (approving this authentication method);
  
   see also
  
  §§ 90.803(6), 90.902(11), Fla. Stat (2005). Further, the State has supplied a transcript of petitioner Monte-ro’s sentencing hearing, which confirms that this combined record was properly admitted and considered by the trial court in sentencing Montero as a prison-releasee reoffender.
  
   See
  
  § 775.082(9)(a), Fla. Stat. (2003).
 

  Accordingly, we grant the petition for review and, as we did in
  
   Yisrael,
  
  approve the ultimate result reached by the Fourth District Court of Appeal below, but disapprove its reliance upon the rule expressed in
  
   Yisrael v. State,
  
  938 So.2d 546 (Fla. 4th DCA 2006), because the business-records certification provided in this case was used as a permissible means of authenticating
  
   an attached Crime and Time Report See Yisrael,
  
  993 So.2d at 960-61;
  
   see also Smith v. State,
  
  990 So.2d 1162, 1164-65 (Fla. 3d DCA 2008);
  
   Parker v. State,
  
  973 So.2d 1167, 1168-69 (Fla. 1st DCA 2007),
  
   review denied,
  
  No. SC07-1847 (Fla. Feb. 19, 2009).
 

  It is so ordered.
 

  QUINCE, C.J., and PARIENTE, LEWIS, CANADY, POLSTON, and LABARGA, JJ., concur.
 
